    Case: 1:18-cv-00671-JG Doc #: 4 Filed: 03/30/18 1 of 3. PageID #: 116




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                      :
JOHN THOMAS GOFF,                                     :              CASE NO. 1:18-CV-0671
                                                      :
                  Plaintiff,                          :
                                                      :
vs.                                                   :              ORDER
                                                      :              [Resolving Doc. No. 2]
WARDEN LASHAUNN EPPINGER, et al., :
                                                      :
                  Defendants.                         :
                                                      :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

         Pro se Plaintiff John Thomas Goff a Motion for Temporary Restraining Order (Doc No.

2). His Motion is very vague and simply refers the Court to his Complaint. His Complaint is

also vague, and does not specify what he believes the Defendants are doing or not doing that

impedes the practice of his religion. Instead, Plaintiff refers the Court to 97 pages of exhibits

attached to his Complaint. This will not suffice to support either the Motion or the Complaint.

Neither the Court nor Defendants are obligated to search through the Complaint and its

voluminous exhibits in order to glean a clear and succinct statement of each claim for relief. It

is Plaintiff’s responsibility to edit and organize his claims and supporting allegations into a

manageable format.1


          Furthermore, “the purpose of a temporary restraining order is always to prevent

irreparable injury in order to preserve the Court’s ability to render a meaningful decision on the


1
        Laster v. Pramstaller, No. 08–CV–10898, 2008 WL 1901250, at *2 (E.D. Mich. April 25, 2008) (citing
Windsor v. Colorado Dep’t. of Corr., 9 Fed. App’x. 967, 968 (10th Cir.2001) (quotation marks omitted)).
    Case: 1:18-cv-00671-JG Doc #: 4 Filed: 03/30/18 2 of 3. PageID #: 117

merits.”2 To determine whether a temporary restraining order should issue, the Court must

consider four factors: (1) the movant’s likelihood of success on the merits; (2) whether the

movant will suffer irreparable harm without the injunction; (3) whether granting the injunction

will cause substantial harm to others; and (4) the impact of the injunction on the public interest.3

The decision to issue a temporary restraining order falls within the sound discretion of the

Court.4


          It is difficult to weigh these factors given the limited allegations in Plaintiff’s Motion

and Complaint. It nevertheless appears from the exhibits that Plaintiff, who is Jewish, contends

that although he is receiving prepackaged kosher meals and kosher for Passover meals, other

inmates in the dining hall are eating non-kosher foods allowing potential cross contamination.

First, Plaintiff indicates he entered Grafton Correctional Institution in April 2017. He filed this

action a year later and does not allege anything has changed in that time period. There is no

suggestion that irreparable injury will occur if relief is not immediately granted prior to payment

of the filing fee and prior to litigation of this case. Furthermore, while he offers as a possible

solution, he does not allege facts to suggest what practices the prison is currently following and

what accommodations, if any, they have offered to address his concerns. Without any of this

information, the Court cannot determine whether the current practice places a substantial burden

on Plaintiff’s exercise of his religion and therefore cannot determine his likely success on the

merits of his claims. The Motion is denied without prejudice.




2
         United Food & Commercial Workers Union, Local 1099 v. Southwest Ohio Reg'l Transit Auth., 163 F.3d
341, 348 (6th Cir.1998) ( citing Stenberg v. Checker Oil Co., 573 F.2d 921, 925 (6th Cir. 1978).
3
         Workman v. Bredesen, 486 F.3d 896, 905 (6th Cir. 2007); Rock & Roll Hall of Fame & Museum v. Gentile
Prods., 134 F.3d 749, 753 (6th Cir. 1998).
4
         See Friendship Materials, Inc. v. Michigan Brick, Inc., 679 F.2d 100, 102 (6th Cir. 1982).
                                                      2
   Case: 1:18-cv-00671-JG Doc #: 4 Filed: 03/30/18 3 of 3. PageID #: 118

       Accordingly, Plaintiff is ordered to file an Amended Complaint that includes his factual

allegations and legal claims within the body of his pleading. He cannot rely solely on exhibits

and expect the Court to piece together claims on his behalf. He shall have thirty (30) days from

the date of this Order to file a legally viable pleading. Failure to comply with this Order may

result in dismissal of this action without further notice.


       IT IS SO ORDERED.




Dated: March 30, 2018                          s/   James S. Gwin
                                               JAMES S. GWIN
                                               UNITED STATES DISTRICT JUDGE




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